                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA        )                              No.   3:09-cr-00240-2
                                )                                    3:09-cr-00240-3
v.                              )                                    3:09-cr-00240-4
                                )                                    3:09-cr-00240-6
FAITH READUS; PAUL MCQUIDDY;    )                                    3:09-cr-00240-9
HOWARD COLEMAN; THOMAS BRANUM; )                                     3:09-cr-00240-11
CECIL WHITMON, III;             )                                    3:09-cr-00240-17
TIERRA YOUNG; LEONARD BAUGH;    )                                    3:09-cr-00240-23
PATRICK SCOTT; ANTHONY JOHNSON; )                                    3:09-cr-00240-25
ANTHONY JOHNSON;                )                              Judge Nixon

                                               ORDER

       Pending before the Court are the Motions of Defendants Thomas Branum (Doc. No. 970)

and Paul McQuiddy (Doc. Nos. 419; 420) (“Motions”), which have been joined by the above-

captioned Defendants, and in which Defendants request that the Court order the Government to

identify recorded jailhouse telephone calls (“phone calls”) it intends to use in its case-in-chief

against Defendants. The Government filed a Response in which it “agree[s] to informally advise

defense counsel of the calls that may be used at trial, so long as defense counsel will also provide

notice of the calls they intend to use at trial, and so long as the defense shares the transcripts of

the calls with the Government.” (Doc. No. 1049.) For the reasons given below, the Court

GRANTS the Motions to the extent specified herein.

       Defendants aver that they received in discovery approximately 200 hours of phone calls

involving various defendants, witnesses, and alleged conspirators. (Doc. No. 970 ¶ 1.)

Defendants anticipate that selected phone calls and portions of phone calls will be offered into

evidence by the Government, and argue that “it is simply impossible for defense counsel to be

prepared to defend against 207 or more hours of phone calls that might be played to the jury.”

(Doc. No. 420 ¶ 6.) Further, Defendants argue that some calls may contain slang, code words, or


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other language that is not easily understood, “such that defense attorneys are presently unaware

that the Government believes they contain incriminating information.” (Id.) Counsel for Mr.

McQuiddy argues that it would be a “waste [of] hundreds of hours worth of taxpayers’ dollars to

sit and listen to every single phone call” with Mr. McQuiddy, especially where the vast majority

of phone calls allegedly have nothing to do with his client. (Doc. No. 420 ¶ 8.)

        The Government states that Defendants have obtained public funding to transcribe the

phone calls and indicates that it will be willing to work with Defendants to identify calls that

each side is likely to use only after Defendants provide access to their transcripts. (Doc. No.

1049.) Further, the Government states in its Response that “until the Government knows what

the defense is that the defendants are asserting, it would be inappropriate to limit itself to specific

calls, as it would do if it formally designated calls.” (Id.)

        At a hearing held January 4, 2013, the Court heard oral argument on the Motions from

Defendants, and the Government. The Government largely reiterated its position as stated in its

Response, arguing that fairness requires that Defendants provide the Government with transcripts

of the phone calls in return for pre-trial identification of the calls it intends to use at trial.

Defendants argued that they have no reciprocal duty to turn over the transcripts, arguing that

Federal Rule of Criminal Procedure 16(a) places a greater burden upon the Government to turn

over information than it places upon defendants. Additionally, Defendants argue that the

transcripts are protected as attorney work product.

        Having considered the Motions and after hearing oral argument on the same, the Court

GRANTS the Motions to the following extent: On or before January 15, 2013, the Government

shall provide notice to each Defendant of the phone calls it intends to use against him or her.

This Order shall not limit the Government’s ability to use phone calls it has not identified by



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January 15, 2013, or to decline to use phone calls it has identified by January 15, 2013, if the

changes appear to have been made in good faith and are reasonably related to effective

presentation of the Government’s case against Defendants. Defendants shall not be required to

turn over to the Government transcripts of recorded phone calls in this case.

       It is so ORDERED.

       Entered this __7th_____ day of January, 2013.


                                                      ________________________________
                                                      JOHN T. NIXON, SENIOR JUDGE
                                                      UNITED STATES DISTRICT COURT




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